




Dismissed and Memorandum Opinion filed April 17, 2008








&nbsp;

Dismissed
and Memorandum Opinion filed April 17, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-01028-CR

____________

&nbsp;

SAMUEL EDWARD ACEITUNO,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
351st District Court

Harris County, Texas

Trial Court Cause No.
1043272

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A
written request to withdraw the notice of appeal, personally signed by appellant,
has been filed with this Court.&nbsp; See Tex.
R. App. P. 42.2.&nbsp; Because this Court has not delivered an opinion, we
grant appellant=s request.

Accordingly,
we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered and Memorandum
Opinion filed April 17, 2008.

Panel consists of Justices Yates,
Anderson, and Brown.

Do not publish C Tex.
R. App. P. 47.2(b).





